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                                                     March 30, 2024
     VIA E-FILING

     Hon. Zahid N. Quraishi, U.S.D.J.
     United States District Court
     Clarkson S. Fisher Building
     402 East State Street
     Trenton, New Jersey 08608

             Re:      Andy Kim, et al. v. Hanlon, et al.
                      Civil Action No.: 3:24- 1098(ZNQ)(TJB)

     Dear Judge Quraishi:

            This firm represents the Honorable John Hogan, Clerk of Bergen County in this matter.
     We write to respectfully join the letter dated March 29, 2024, filed by Mr. Parikh (Docket Entry
     194) on behalf of fifteen co-defendants/Clerks seeking an emergency stay pending appeal of
     Your Honor’s Order dated March 29, 2024 (Docket Entry 195) granting Plaintiff’s extraordinary
     Motion for a Preliminary Injunction (“March 29th Order”) 1. On the evening of March 29th, the
     Defendant Clerks jointly filed a timely Notice of Interlocutory Appeal (Docket Entry 200).

             We rely upon Mr. Parikh’s arguments simply wishing to briefly highlight:

             1. The Clerk’s statutory obligation is merely ministerial and are simply to follow NJSA
                19:49-2 and therefore indispensable parties who are the real parties in interest were
                not named pursuant to Fed. R. Civ. P. 19;

             2. Providing the Clerks five business days’ notice to change a ballot design in effect for
                decades is, respectfully, inequitable, unreasonable and only causes confusion; and

             3. The letter filed by the Morris County Republican Committee (Docket Entry No. 196)
                positing that the republican primary ballot is unaffected by the March 29th Order
                exemplifies the confusion throughout the State- Are there now two separate and
                distinct ballot designs for the June 4th primary that must be put into effect in very
                short order?


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       Due to a religious obligation, I was unable to timely advise co-defendants that Bergen County joined counsels’
     letter.
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                                                                                                 PAGE 2




        Therefore, the Bergen County Clerk respectfully requests that the Court stay the March
 29th Order so that defendants can pursue their appeal


                                             Respectfully submitted,

                                             DECOTIIS, FITZPATRICK, COLE
                                             & GIBLIN, LLP

                                             By: ___/s/ Jason Nunnermacker
                                                    Jason S. Nunnermacker, Esq.


 JN/st

 cc:     All parties by E-Filing




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